                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF TENNESSEE

                                                MEDIATION REPORT


                    3:23-cv-00310
Case No.:                                    Case Name: Dantzler v. A. Murgas, LLC, et al.

Mediator Name: Allen S. Blair

Mediator Phone: 901-5814100                  E-mail: asb@blairmediation.com

Date(s) of Mediation: 9/6-9/11/24

Check All That Apply:

  ✔      All required parties participated in the mediation.

   ✔     The parties resolved all issues. A notice, stipulation, or proposed order of dismissal will be filed with
         the court by Please see comments below.

         The parties resolved some, but not all issues. Please describe resolved and unresolved issues:




         The parties agreed to continue the mediation. Date(s):

         The parties reached an impasse.


Comments:
This is a Collective Action under the Fair Labor Standards Act. Counsel are working on the Documentation necessary for
Court Approval.




                                                   Reporting Instructions

A. Mediators must file this report within two (2) business days following the mediation. L.R. 16.05(b). A mediation which
   continues over multiple consecutive days is considered one mediation for reporting purposes. File a separate Report
   when the mediation is recessed for five (5) business days or more.

B. Mediators must treat all information revealed in mediation as confidential, except for (i) information that is required to
   be reported by statute, regulation, or rule, or (ii) information the parties agree may be disclosed.

C. Please file this form electronically in CM/ECF using the “Report of Mediation” event (located under “ADR
    Documents”). Alternatively, please email the Report to the following address:
    OperationsManager@tnmd.uscourts.gov.




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